 Fill in this information to identify your case:                                                             Check as directed in lines 17 and 21:

 Debtor 1              Martin Barajas Sanchez                                                                  According to the calculations required by this
                                                                                                               Statement:
 Debtor 2              Irma Sanchez                                                                                  1. Disposable income is not determined under
 (Spouse, if filing)                                                                                                    11 U.S.C. § 1325(b)(3).
 United States Bankruptcy Court for the:            District of Arizona                                              2. Disposable income is determined under 11
                                                                                                                        U.S.C. § 1325(b)(3).
 Case number           2:18-bk-14946-DPC
 (if known)
                                                                                                                     3. The commitment period is 3 years.

                                                                                                                     4. The commitment period is 5 years.

                                                                                                                   Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

 Part 1:           Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married. Fill out both Columns A and B, lines 2-11.


    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                        Column A                Column B
                                                                                                        Debtor 1                Debtor 2 or
                                                                                                                                non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                                 0.00      $               0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                             $             0.00      $               0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Do not include payments from a spouse. Do not include payments
     you listed on line 3.                                                             $                              0.00      $               0.00
  5. Net income from operating a business,
     profession, or farm                                                  Debtor 1
        Gross receipts (before all deductions)                       $                2,100.00
        Ordinary and necessary operating expenses                    -$                   0.00
        Net monthly income from a business,                                                      Copy
        profession, or farm                                          $                2,100.00 here -> $         2,100.00       $               0.00
  6. Net income from rental and other real property                       Debtor 1
        Gross receipts (before all deductions)                              $      0.00
        Ordinary and necessary operating expenses                           -$       0.00
        Net monthly income from rental or other real property               $        0.00 Copy here -> $              0.00      $               0.00




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                        page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
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 Debtor 1     Martin Barajas Sanchez
 Debtor 2     Irma Sanchez                                                                                       Case number (if known)    2:18-bk-14946-DPC


                                                                                                             Column A                      Column B
                                                                                                             Debtor 1                      Debtor 2 or
                                                                                                                                           non-filing spouse
                                                                                                             $                  0.00       $            0.00
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                               $                  0.00       $            0.00
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                          $                       0.00
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                                  $            1,935.00         $         1,403.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
                                                                                                             $                  0.00       $            0.00
                                                                                                             $                  0.00       $            0.00
                  Total amounts from separate pages, if any.                                            +    $                  0.00       $            0.00

  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                     $         4,035.00           +   $      1,403.00      =    $      5,438.00

                                                                                                                                                                 Total average
                                                                                                                                                                 monthly income
 Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                               $          5,438.00
  13. Calculate the marital adjustment. Check one:
              You are not married. Fill in 0 below.
              You are married and your spouse is filing with you. Fill in 0 below.
              You are married and your spouse is not filing with you.
              Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
              dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
              Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
              adjustments on a separate page.
              If this adjustment does not apply, enter 0 below.
                                                                                                    $
                                                                                                    $
                                                                                                 +$

                     Total                                                                        $                     0.00           Copy here=>           -               0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                                        $          5,438.00

  15. Calculate your current monthly income for the year. Follow these steps:
        15a. Copy line 14 here=>                                                                                                                         $          5,438.00

                Multiply line 15a by 12 (the number of months in a year).                                                                                        x 12

        15b. The result is your current monthly income for the year for this part of the form. ...........................................               $         65,256.00




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                    page 2
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 Debtor 2     Irma Sanchez                                                                       Case number (if known)   2:18-bk-14946-DPC


  16. Calculate the median family income that applies to you. Follow these steps:
       16a. Fill in the state in which you live.                         AZ

       16b. Fill in the number of people in your household.               2
       16c. Fill in the median family income for your state and size of household.                                                       $     63,698.00
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
       17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                      11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).

       17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                      1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                      your current monthly income from line 14 above.
 Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

 18. Copy your total average monthly income from line 11 .                                                                       $                  5,438.00
 19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
     contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
     spouse's income, copy the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                      -$                       0.00


       19b. Subtract line 19a from line 18.                                                                                          $          5,438.00


 20. Calculate your current monthly income for the year. Follow these steps:
       20a. Copy line 19b                                                                                                                $      5,438.00

              Multiply by 12 (the number of months in a year).                                                                               x 12

       20b. The result is your current monthly income for the year for this part of the form                                             $     65,256.00




       20c. Copy the median family income for your state and size of household from line 16c                                             $     63,698.00


       21. How do the lines compare?

                   Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                   period is 3 years. Go to Part 4.

                   Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                   commitment period is 5 years. Go to Part 4.

 Part 4:       Sign Below
       By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

    X /s/ Martin Barajas Sanchez                                                  X /s/ Irma Sanchez
        Martin Barajas Sanchez                                                        Irma Sanchez
        Signature of Debtor 1                                                         Signature of Debtor 2
       Date January 11, 2019                                                          Date January 11, 2019
            MM / DD / YYYY                                                                 MM / DD / YYYY
       If you checked 17a, do NOT fill out or file Form 122C-2.
       If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                               page 3
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 Fill in this information to identify your case:

 Debtor 1            Martin Barajas Sanchez

 Debtor 2           Irma Sanchez
 (Spouse, if filing)

 United States Bankruptcy Court for the:            District of Arizona

 Case number         2:18-bk-14946-DPC
 (if known)                                                                                                    Check if this is an amended filing

Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                         04/16

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 122C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

 Part 1:       Calculate Your Deductions from Your Income

    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the
    the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This
    information may also be available at the bankruptcy clerk’s office.

    Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual
    expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form
    122C–1, and do not deduct any amounts that you subtracted from your spouse’s income in line 13 of Form 122C–1.

    If your expenses differ from month to month, enter the average expense.

    Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

    5.     The number of people used in determining your deductions from income

           Fill in the number of people who could be claimed as exemptions on your federal income tax return,
           plus the number of any additional dependents whom you support. This number may be different from                    2
           the number of people in your household.



    National Standards                   You must use the IRS National Standards to answer the questions in lines 6-7.



    6.     Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
           Standards, fill in the dollar amount for food, clothing, and other items.                                               $             1,202.00


    7.     Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
           the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
           people who are 65 or older--because older people have a higher IRS allowance for health car costs. If your actual expenses are
           higher than this IRS amount, you may deduct the additional amount on line 22.




Official Form 22C-2                                         Chapter 13 Calculation of Your Disposable Income                                        page 1
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 Debtor 2         Irma Sanchez                                                                      Case number (if known)      2:18-bk-14946-DPC

    People who are under 65 years of age
            7a. Out-of-pocket health care allowance per person             $             52
            7b. Number of people who are under 65                          X         2
            7c. Subtotal. Multiply line 7a by line 7b.                     $       104.00            Copy here=>        $           104.00

    People who are 65 years of age or older

            7d. Out-of-pocket health care allowance per person             $          114
            7e. Number of people who are 65 or older                       X         0
            7f.    Subtotal. Multiply line 7d by line 7e.                  $         0.00            Copy here=>        $              0.00

            7g. Total. Add line 7c and line 7f                                                $     104.00                   Copy total here=> $         104.00


    Local Standards          You must use the IRS Local Standards to answer the questions in lines 8-15.
    Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
    bankruptcy purposes into two parts:
         Housing and utilities - Insurance and operating expenses
         Housing and utilities - Mortgage or rent expenses
    To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link specified in the
    separate instructions for this form. This chart may also be available at the bankruptcy clerk's office.
    8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill
        in the dollar amount listed for your county for insurance and operating expenses.                               $               584.00
    9.      Housing and utilities - Mortgage or rent expenses:
            9a. Using the number of people you entered in line 5, fill in the dollar amount
                listed for your county for mortgage or rent expenses.                                                   $        1,133.00

            9b. Total average monthly payment for all mortgages and other debts secured by your home.
                   To calculate the total average monthly payment, add all amounts that are
                   contractually due to each secured creditor in the 60 months after you file
                   for bankruptcy. Next divide by 60.

                   Name of the creditor                                        Average monthly
                                                                               payment

                   Rosanna Hinshaw                                             $         1,446.00

                                                                                                     Copy                                       Repeat this amount
                                    9b. Total average monthly payment          $         1,446.00    here=>        -$               1,446.00 on line 33a.

            9c. Net mortgage or rent expense.

                   Subtract line 9b (total average monthly payment) from line 9a (mortgage                                             Copy
                   or rent expense). If this number is less than $0, enter $0.                          $                    0.00      here=>    $              0.00


    10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
        affects the calculation of your monthly expenses, fill in any additional amount you claim.                                              $               0.00

             Explain why:




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                                 page 2
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    11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

               0. Go to line 14.

               1. Go to line 12.

               2 or more. Go to line 12.
    12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
        operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                  $             620.00
    13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
        You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
        more than two vehicles.
     Vehicle 1         Describe Vehicle 1:
                                                  2011 Nissan Titan 130k miles
    13a. Ownership or leasing costs using IRS Local Standard..................................................         $             497.00
    13b. Average monthly payment for all debts secured by Vehicle 1.
            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all amounts that
            are contractually due to each secured creditor in the 60 months after you file for
            bankruptcy. Then divide by 60.

                 Name of each creditor for Vehicle 1                               Average monthly
                                                                                   payment
                 A Speedy Cash Car Title Loan, LLC                                 $              688.00

                                                                                                                                                      Repeat this
                                                                                                                  Copy                                amount on
                                         Total Average Monthly Payment             $              688.00          here =>       -$        688.00      line 33b.


    13c. Net Vehicle 1 ownership or lease expense                                                                                                Copy net
                                                                                                                                                 Vehicle 1
            Subtract line 13b from line 13a. if this number is less than $0, enter $0. .....................                                     expense here
                                                                                                                       $               0.00      =>              $             0.00

     Vehicle 2         Describe Vehicle 2:
    13d. Ownership or leasing costs using IRS Local Standard..................................................         $               0.00
    13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
         leased vehicles.

                 Name of each creditor for Vehicle 2                               Average monthly
                                                                                   payment

                                                                                   $

                                                                                                                  Copy                            Repeat this
                                                                                                                  here                            amount on line
                                         Total average monthly payment             $                              =>                      0.00    33c.
                                                                                                                           -$

    13f. Net Vehicle 2 ownership or lease expense                                                                                                Copy net
                                                                                                                                                 Vehicle 2
            Subtract line 13e from line 13d. if this number is less than $0, enter $0. .......................                                   expense here
                                                                                                                       $               0.00      =>              $             0.00

    14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
        Public Transportation expense allowance regardless of whether you use public transportation.                                                         $                 0.00
    15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
        also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
        not claim more than the IRS Local Standard for Public Transportation.                                                                                $                 0.00




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                                                page 3
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    Other Necessary Expenses                In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                            the following IRS categories.
    16. Taxes: The total monthly amount that you will actually pay for federal, state and local taxes, such as income taxes,
        self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
        your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
        and subtract that number from the total monthly amount that is withheld to pay for taxes.
        Do not include real estate, sales, or use taxes.                                                                                 $          950.00
    17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
        contributions, union dues, and uniform costs.
        Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.             $              0.00
    18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
        filing together, include payments that you make for your spouse's term life insurance.
        Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any form
        of life insurance other than term.                                                                                               $              0.00
    19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
        administrative agency, such as spousal or child support payments.
        Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.        $              0.00
    20. Education: The total monthly amount that you pay for education that is either required:
               as a condition for your job, or
               for your physically or mentally challenged dependent child if no public education is available for similar services.      $              0.00
    21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
        Do not include payments for any elementary or secondary school education.                                                        $              0.00
    22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
        that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
        by a health savings account. Include only the amount that is more than the total entered in line 7.
        Payments for health insurance or health savings accounts should be listed only in line 25.                                       $              0.00
    23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
        for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
        phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
        income, if it is not reimbursed by your employer.
        Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
        expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.                      +$            80.00

    24. Add all of the expenses allowed under the IRS expense allowances.                                                                $     3,540.00
        Add lines 6 through 23.
    Additional Expense Deductions                 These are additional deductions allowed by the Means Test.
                                                  Note: Do not include any expense allowances listed in lines 6-24.
    25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
        insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
        your dependents.
            Health insurance                                              $        402.00
            Disability insurance                                          $           0.00
            Health savings account                                      +$            0.00

            Total                                                             $      402.00       Copy total here=>                      $          402.00


            Do you actually spend this total amount?
                   No. How much do you actually spend?
                    Yes                                                       $

    26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
        continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
        your household or member of your immediate family who is unable to pay for such expenses. These expenses may
        include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b)                                             $              0.00
    27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
        safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
            By law, the court must keep the nature of these expenses confidential.                                                       $              0.00


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    28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on
        line 8.
            If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
            8, then fill in the excess amount of home energy costs
            You must give your case trustee documentation of your actual expenses, and you must show that the additional
            amount claimed is reasonable and necessary.                                                                                                $                 0.00
    29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
        $160.42* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
        public elementary or secondary school.
            You must give your case trustee documentation of your actual expenses, and you must explain why the amount
            claimed is reasonable and necessary and not already accounted for in lines 6-23.
            * Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.                       $                 0.00
    30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
        higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
        than 5% of the food and clothing allowances in the IRS National Standards.
            To find a chart showing the maximum additional allowance, go online using the link specified in the separate
            instructions for this form. This chart may also be available at the bankruptcy clerk's office.
            You must show that the additional amount claimed is reasonable and necessary.                                                              $                 0.00
    31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
        instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).
            Do not include any amount more than 15% of your gross monthly income.                                                                      $                 0.00

    32. Add all of the additional expense deductions.                                                                                                  $          402.00
        Add lines 25 through 31.

    Deductions for Debt Payment

    33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
        loans, and other secured debt, fill in lines 33a through 33e.
          To calculate the total average monthly payment, add all amounts that are contractually due to each secured
          creditor in the 60 months after you file for bankruptcy. Then divide by 60.
              Mortgages on your home                                                                                                               Average monthly
                                                                                                                                                   payment
    33a.      Copy line 9b here                                                                                                               =>   $           1,446.00
              Loans on your first two vehicles
    33b.      Copy line 13b here                                                                                                              =>   $             688.00
    33c.      Copy line 13e here                                                                                                              =>   $                0.00
    33d.      List other secured debts:
    Name of each creditor for other secured debt                     Identify property that secures the debt                     Does payment
                                                                                                                                 include taxes
                                                                                                                                 or insurance?
                                                                                                                                        No
             -NONE-                                                                                                                     Yes        $

                                                                                                                                        No
                                                                                                                                        Yes        $

                                                                                                                                        No
                                                                                                                                        Yes   +    $


                                                                                                                                              Copy
                                                                                                                                              total
    33e      Total average monthly payment. Add lines 33a through 33d                                              $           2,134.00       here=>       $    2,134.00




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                                          page 5
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 Debtor 1      Martin Barajas Sanchez
 Debtor 2      Irma Sanchez                                                                                             Case number (if known)    2:18-bk-14946-DPC

    34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
        or other property necessary for your support or the support of your dependents?
               No.      Go to line 35.
               Yes. State any amount that you must pay to a creditor, in addition to the payments
                    listed in line 33, to keep possession of your property (called the cure amount).
                    Next, divide by 60 and fill in the information below.
     Name of the creditor                                         Identify property that secures the debt                    Total cure amount                  Monthly cure
                                                                                                                                                                amount
                                                                  3307 N. 17TH Drive Phoenix, AZ 85015
     Rosanna Hinshaw                                              Maricopa County                      $                                11,347.00 ÷ 60 = $                       189.12
                                                                                                                         $                            ÷ 60 = $
                                                                                                                         $                            ÷ 60 = +$
                                                                                                                                                           Copy
                                                                                                                                                           total
                                                                                                                 Total $                     189.12        here=>          $         189.12

    35. Do you owe any priority claims - such as a priority tax, child support, or alimony - that
        are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

               No.      Go to line 36.
               Yes. Fill in the total amount of all of these priority claims. Do not include current or
                    ongoing priority claims, such as those you listed in line 19.
                          Total amount of all past-due priority claims                                                       $             7,319.00         ÷ 60       $             121.99
    36. Projected monthly Chapter 13 plan payment                                                                            $
        Current multiplier for your district as stated on the list issued by the Administrative
        Office of the United States Courts (for districts in Alabama and North Carolina) or by
        the Executive Office for United States Trustees (for all other districts).                                           X
        To find a list of district multipliers that includes your district, go online using the link specified in the
        separate instructions for this form. This list may also be available at the bankruptcy clerk's office.
                                                                                                                                                         Copy total
        Average monthly administrative expense                                                                                   $                       here=> $



    37. Add all of the deductions for debt payment.                                                                                                                    $        2,445.11
        Add lines 33e through 36.

    Total Deductions from Income

    38. Add all of the allowed deductions.
            Copy line 24, All of the expenses allowed under IRS
            expense allowances                                                                      $        3,540.00
            Copy line 32, All of the additional expense deductions                                  $           402.00
            Copy line 37, All of the deductions for debt payment                                   +$        2,445.11


            Total deductions....................................................................    $        6,387.11                Copy total here=>             $               6,387.11




Official Form 122C-2                                                  Chapter 13 Calculation of Your Disposable Income                                                                page 6
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 Debtor 1    Martin Barajas Sanchez
 Debtor 2    Irma Sanchez                                                                              Case number (if known)    2:18-bk-14946-DPC


 Part 2:       Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

    39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
        Statement of Your Current Monthly Income and Calculation of Commitment Period.                                              $                   5,438.00
    40. Fill in any reasonably necessary income you receive for support for dependent
        children. The monthly average of any child support payments, foster care payments, or
        disability payments for a dependent child, reported in Part I of Form 122C-1, that you
        received in accordance with applicable nonbankruptcy law to the extent reasonably
        necessary to be expended for such child.                                                               $                 0.00
    41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
        employer withheld from wages as contributions for qualified retirement plans, as specified
        in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
        specified in 11 U.S.C. § 362(b)(19).                                                                   $                 0.00
    42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here                =>    $            6,387.11
    43. Deduction for special circumstances. If special circumstances justify additional
        expenses and you have no reasonable alternative, describe the special circumstances and
        their expenses. You must give your case trustee a detailed explanation of the special
        circumstances and documentation for the expenses.

    Describe the special circumstances                                                    Amount of expense

                                                                                      $

                                                                                      $

                                                                                      $

                                                                                                              Copy
                                                                            Total $               0.00        here=> $                  0.00


                                                                                                                                   Copy
    44. Total adjustments. Add lines 40 through 43.                                               =>      $          6,387.11      here=> -$            6,387.11


    45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                     $              -949.11


 Part 3:       Change in Income or Expenses

    46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form
        have changed or are virtually certain to change after the date you filed your bankruptcy petition and during the
        time your case will be open, fill in the information below. For example, if the wages reported increased after
        you filed your petition, check 122C-1 in the first column, enter line 2 in the second column, explain why the
        wages increased, fill in when the increase occurred, and fill in the amount of the increase.

    Form             Line           Reason for change                                      Date of change          Increase or      Amount of change
                                                                                                                   decrease?
       122C-1                                                                                                         Increase
       122C-2                                                                                                         Decrease      $
       122C-1                                                                                                         Increase
       122C-2                                                                                                         Decrease      $
       122C-1                                                                                                         Increase
       122C-2                                                                                                         Decrease      $
       122C-1                                                                                                         Increase
       122C-2                                                                                                         Decrease      $




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                             page 7
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 Debtor 1     Martin Barajas Sanchez
 Debtor 2     Irma Sanchez                                                                          Case number (if known)   2:18-bk-14946-DPC




 Part 4:        Sign Below



            By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


       X /s/ Martin Barajas Sanchez                                                   X /s/ Irma Sanchez
             Martin Barajas Sanchez                                                      Irma Sanchez
             Signature of Debtor 1                                                       Signature of Debtor 2
    Date January 11, 2019                                                          Date January 11, 2019
         MM / DD / YYYY                                                                 MM / DD / YYYY




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                        page 8
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